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Via ECF                                                        November 15, 2021
Hon. Katharine H. Parker
United States Magistrate Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.                                                                                      11/15/2021
New York, NY 10007-1312

        Re: Metcalf v. TransPerfect Global Inc. , No. 1:19-cv-10104-AJN-KHP (S.D.N.Y.)

Dear Magistrate Judge Parker,

        We represent Plaintiffs in the above-captioned matter. We write jointly with Defendant to
respectfully request that the settlement conference currently scheduled for 10:00 a.m. on November
23, 2021, be rescheduled to a time convenient for the Court on January 26, 2022, with the Parties’ pre-
conference summary forms and letter submissions due on January 19, 2022, in accordance with Your
Honor’s Individual Rule of Practice V(d). This is the first request to reschedule these deadlines.

        On October 12, 2021, the Court scheduled a settlement conference in this matter for
November 23, 2021, with pre-conference submissions due one week prior, on November 16, 2021.
ECF No. 114. Due to a family health situation, Plaintiffs’ counsel Andrew C. White will no longer be
available on that date, and Defendant has consented to this request to reschedule the conference. The
Parties jointly called Your Honor’s chambers on November 15, 2021 with mutually-available dates
and were informed by Courtroom Deputy Chris Aiello that Court may have availability on January 26,
2022 for a rescheduled conference.

       We respectfully request that the settlement conference in this matter be rescheduled for
January 26, 2022, at a time convenient for the Court and that the corresponding deadline for pre-
conference submissions be rescheduled for January 19, 2022. We thank Your Honor for your
continued attention to this matter.

                                                       Respectfully submitted,

                                               By:     /s/Jeremiah Frei-Pearson
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                                                       Andrew C. White
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APPLICATION GRANTED: The Settlement Conference in this matter scheduled for
Tuesday, November 23, 2021 at 10:00 a.m. in Courtroom 17-D, United States Courthouse,
500 Pearl Street, New York, New York is hereby rescheduled to Wednesday, January 26,
2022 at 10:00 a.m. Parties must attend in-person with their counsel. Corporate parties
must send the person with decision making authority to settle the matter to the
conference. Counsel and parties are required to follow the Court's COVID-safety
protocols and should review the Court's website in advance of the conference for the most
up to date information. The parties are instructed to complete the Settlement Conference
Summary Report and prepare pre-conference submissions in accordance with the Judge
Parker's Individual Rules of Practice. Pre-conference submissions must be received by
the Court no later than January 19, 2022 by 5:00 p.m.




                                                                         11/15/2021
